Case 2:04-cv-02591-.]PI\/|-tmp Document 14 Filed 05/25/05 Page 1 of 3 Page|D 26
IN THE UNITED sTATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNES§IEE} aj
wESTERN DIvIsIoN " g joe

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U\J §"1`;'.1{‘ E'Miv_.§¢ Q. ZF
. `J. d

 

JOAN DENI SE HURST ,
Plaintiff,

VS.

 

BILLY PHILLIPS ,

Defendant.

-._,‘.»-_/-_'\_,~_d~__¢~__¢-._/-_/

 

ORDER GRANTING MOTION TO MODIFY RULE 16 (b) SCHEDULING ORDER

 

Before the Court is the Plaintiff's Motion to Modify Rule
l€(b) Scheduling Order, filed May 2, 2005. Upon good cause having
been shown, and no objection by the defendant, the deadlines in

this case are modified as follows:

 

l. COMPLETING ALL DISCOVERY: MODdaY, Jun€ 13 , 2 005 .
a. EXPERT DISCLOSURE (RULE 26) :
l. DISCLOSUREI OF PLAINTIFF’ S RULE 26 EXPERT

INFORMATION: FridaVJ ALlCIuSt 5. 2005.

2. DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INF'ORMATION: F'I`idaV, Auqust 19, 2005.

2. FILING PRETRIAL MOTIONS (INCLUDING MOTIONS FOR SUMMARY

JUDGMENT): Wednesdav, July 13, 2005.

The non-jury trial in this case, which is anticipated to last
one (1) day; is set to begin on Mondav, September 19, 2005 at 9:30
a;m; in Courtroom.No. 4. The pretrial conference is set on Mondayc
September 12, 2005 at 9:00 a.m. A joint pretrial order shall be

submitted no later than 4:30 p.m. on Tuesdav, September 6, 2005.

This document entered on the docket sheet in compliance
with Ru!e 58 and/or ?9{a) FRCP on " ’

Case 2:04-cv-02591-.]PI\/|-tmp Document 14 Filed 05/25/05 Page 2 of 3 Page|D 27

Absent good cause, the dates established by this order shall

not be modified or extended.

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IT Is so oRDERED THIS £ DAY oF May, 2005.

v wm ill

JON P. MCCALLA
U'N ED STATES DIS'I'RICT JUDGE

STATES DISTRIT OURT - ESTERN ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02591 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

